              Case: 6:08-cr-00092-ART-REW Doc #: 43 Filed: 09/16/09 Page: 1 of 6 - Page ID#: 92
""-AO 2458	   (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                           UNITED STATES DISTRICT COURT
                        EASTERN                                   District of             KENTUCKY-Southern Division at London
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
              JASON LEE ROBINSON                                          Case Number: 6:08-CR-92-0 I-ART

                                                                          USMNumber.                       11426-032

                                                                          Joseph R. Lane                       Eastern District of Kentucky
                                                                          Defendant's Attorney                          FILED
THE DEFENDANT:
X pleaded guilty to count(s)         1,2                                                                                SEP 16 2009
o pleaded nolo contendere to count(s)                                                                                      AT LONDON
   which was accepted by the court.                                                                                    LESLIE GWHITMER
                                                                                                                  CLERK U S DISTRICT COURT
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended               Count
18:2113(a) & (d)                   Anned Bank Robbery                                                      08/11/2008                     I

18:2113(a)                         Bank Robbery                                                            08/12/2008                     2




       The defendant is sentenced as provided in pages 2 through       6      of this judgment. The sentence is imposed pursuant to
18 U.S.C. §3553(a) and the Sentencing Refonn Act of 1984 as amended or modified by the Supreme Court's January 12,2005, decision in
United States v. Booker and United States v. Fanfan.

o The defendant has been found not guilty on count(s)
o Count(s)	                                        o        is    o   are dismissed on the motion of the United States.
               -------------
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notifY the court and United States attorney of material changes in economic circumstances.

                                                                          September 14, 2009
                                                                          Date ofImposition of Judgment




                                                                          sr~
                                                                          AMUL R. THAPAR, U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge




                                                                          Date
                                                                                   qjtc./OC/.
                Case: 6:08-cr-00092-ART-REW Doc #: 43 Filed: 09/16/09 Page: 2 of 6 - Page ID#: 93
AD 2458       (Rev. 09/08) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                        Judgment - Page   2   of   6
 DEFENDANT:                      JASON LEE ROBINSON
 CASE NUMBER:                    6:08-CR-92-01-ART


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

 total tenn of:     63 month on each of Counts One and Two, to be served concurrently





     X	   The court makes the following recommendations to the Bureau of Prisons:
          The defendant shall participate in a program of mental health treatment at the direction and discretion of the probation
          officer, until such time as the defendant is released from the program by the probation officer
          The defendant be designated to the facility nearest his home whIch can address his mental health concerns.


     X	   The defendant is remanded to the custody of the United States Marshal.

     D	   The defendant shall surrender to the United States Marshal for this district:


          D     at    __________ D a.m.                           D p.m.       on


          D     as notified by the United States Marshal.


     D	 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on


          D     as notified by the United States Marshal.


          D     as notified by the Probation or Pretrial Services Office.




                                                                     RETURN

 [ have executed this judgment as follows:





          Defendant delivered on	                                                           to

a	                                                     , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL
AO 2458       (Rev. 09108) Judgment
                 Case:     6:08-cr-00092-ART-REW
                                    in a Criminal Case        Doc #: 43 Filed: 09/16/09 Page: 3 of 6 - Page ID#: 94
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page _",-3_ of             6
DEFENDANT:                   JASON LEE ROBINSON
CASE NUMBER:                 6:08-CR-92-0 I-ART
                                                        SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

            Five (5) years on Count One and Three (3) years on Count Two, to run concurrently, for a total term of Five (5) years.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted ofa qualifYing offense. (Check, if applicable)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;

    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of

          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AO 2458      (Rev,
              Case:09/08)6:08-cr-00092-ART-REW
                          Judgment in a Criminal Case          Doc #: 43 Filed: 09/16/09 Page: 4 of 6 - Page ID#: 95
             Sheet 3C - Supervised Release
                                                                                                Judgment-Page _.:!.4_   of   6
DEFENDANT:                  JASON LEE ROBINSON
CASE NUMBER:                6:08-CR-92-01-ART

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer with access to any requested financial information.
2. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.
3. The defendant shall participate in a program of mental health treatment at the direction and discretion of the
probation officer, which may mclude testing to determine if the defendant is in compliance with any medications
prescribed, until such time as the defendant is released from the program by the probation officer.
4. The defendant shall provide to the United States Probation Office, within seven days of release from the custody of
the Bureau of Prisons, a written report, in a form the probation office directs, listing each and every prescription
medication in defendant's possession, custody or control. The list shall include, but not be limited to, any prescription
medication that contains a controlled substance and encompasses all current, past, and outdated or expired
prescription medications in a defendant's possession, custody, or control at the time of the report.
5. The defendant shall notify the United States Probation Office immediately (i.e., within no later than 72 hours) if
defendant receives any prescription for a medication during the period of supervised release. Defendant shall provide
the probation office such documentation and verification as the probation office may reasonably request and in a
form the probation office directs.
6. The defendant must comply strictly with the orders of any physician or other prescribing source with respect to
use of all prescription medications.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, the
defendant shall submit to DNA collection if the offense of conviction is a felony.


                                                             ACKNOWLEDGMENT

Upon afinding ofa violation ofprobation or sl!pervised release, 1 understand that the Court may (1) revoke supervision, (2)
extend the term ofsupervision, and/or (3) modijy the conditions ofsupervision.
These conditions have been read to me. 1fully understand the conditions and have been provided a copy ofthem.



(Signed)
           C".D"'eC7'fen-:-:dr a - , , - n " " ' t ) - - - - - - - - - - - - - - - - ­
                '::"C
                                                                                         Date




           o. S. ProbatIOn OffIcer/DesIgnated WItness                                    Date
AO 245B	      Case:
           (Rev.        6:08-cr-00092-ART-REW
                 09/08) Judgment in a Criminal Case          Doc #: 43 Filed: 09/16/09 Page: 5 of 6 - Page ID#: 96
           Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment- Page           5   of       6
DEFENDANT:                        JASON LEE ROBINSON
CASE NUMBER:                      6:08-CR-92-01-ART
                                             CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                       Fine                                         Restitution
TOTALS             $ 200                                            $ WAIVED                                     $ 7,239


 D	 The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D	 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paId.

 Name of Payee                               Total Loss*                      Restitution Ordered                           Priority or Percentage

Community Trust Bank                                                                             $3,313
Middlesboro East Branch
1206 East Cumberland Ave.
Middlesboro, KY 40965


Community Trust Bank                                                                             $3,926
Town Mountain Branch
105 Northgate Drive
Pikeville, KY 4150 I




TOTALS                             $	                          o          $                     ---'-7;;;;.;23;;..;;9_


 D	    Restitution amount ordered pursuant to plea agreement $

 D	    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X	    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       X	 the interest requirement is waived for the        D fme     X restitution.
       D	 the interest requirement for the      D    fine    D restitution is modified as follows:


* Findings for the total amount oflosses are reCJuired under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458      Case:
           (Rev.        6:08-cr-00092-ART-REW
                 09/08) Judgment in a Criminal Case          Doc #: 43 Filed: 09/16/09 Page: 6 of 6 - Page ID#: 97
           Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page    6     of        6
DEFENDANT:                 JASON LEE ROBINSON
CASE NUMBER:               6:08-CR-92-0l-ART

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of$         7,439.00             due immediately, balance due

          D     not later than                                   , or
          X     in accordance         D C,       D D,       D      E, or    X F below; or
B    D Payment to begin immediately (may be combined with                  DC,       D D, or      D F below); or
C    D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

o    D     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall make a lump sum payment of $7,439 toward the criminal monetary penalties set out in this judgment. Such
           lump sum shall be due immediately. Any outstanding balance owed upon commencement of incarceration shalT be paid in
           mimmum quarterly installments of $25 unless the defendant is employed by Federal Prison Industries, in which case the
           defendant's quarterly installments shall be no less than $60. Any outstandmg balance owed upon commencement of supervision
           shall be paid accordmg to a schedule set by subsequent orders of the Court. Make payments to U.S. District Court Clerk, P.O. Box
           5121, London, Kentucky 40745-5121. Please incfude your case number on all correspondence.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
